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                          UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF LOUISIANA

                                                      *
In re: OIL SPILL by the OIL RIG
       “DEEPWATER HORIZON” in the                     *            MDL No. 2179
       GULF OF MEXICO, on
       APRIL 20, 2010                                 *            SECTION: J

                                                      *            JUDGE BARBIER

         This document applies to:                                 MAGISTRATE SHUSHAN
                                                      *
         All cases in Pleading Bundle III.B(3).
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                          MARINE SPILL RESPONSE CORPORATION’S
                             REQUEST FOR ORAL ARGUMENT

         Defendant Marine Spill Response Corporation, pursuant to Local Rule 78.1, respectfully

requests oral argument on its Motion to Dismiss the B(3) Pleading Bundle Master Complaint for

failure to state a claim under Federal Rule of Civil Procedure 12(b)(6).

Dated:           New York, New York
                 February 28, 2011
                                             Respectfully submitted,

                                             BLANK ROME LLP
                                      By:    /s/ Alan M. Weigel__________
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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Request for Oral Argument has been served
on All Counsel by electronically uploading the same to Lexis Nexis File & Serve in accordance
with Pretrial Order No. 12, on this 28th day of February 2011.

                                           /s/ Alan M. Weigel___________
                                           Alan M. Weigel




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